         Case 1:08-cv-03407        Document 41        Filed 08/21/2008     Page 1 of 1



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Ann Coyle, on behalf of herself and          )       Civil Action No. 08 C 03407
all other similarly situated persons,        )
                        Plaintiff,           )       Judge James F. Holderman
                                             )
       v.                                    )
                                             )
                                             )       Magistrate Judge Susan R. Cox
Avent America, Inc.,                         )
Philips Electronics North America Corp.,     )
Gerber Products Co.,                         )
Handi-Craft Co.,                             )
Nalge Nunc International Corp., and          )
Playtex Products, Inc.,                      )
                       Defendants.           )

                                        NOTICE OF MOTION

       PLEASE TAKE NOTICE that on August 28, 2008 at 9:00 a.m. defendant Playtex

Products, Inc. shall appear before the Honorable James F. Holderman, or any other judge sitting

in his stead in the courtroom usually occupied by him, at the United States Courthouse, 219

South Dearborn Street, Chicago, Illinois and then and there present defendant Playtex Products,

Inc.’s Agreed Motion To Further Extend The Time For Defendant Playtex Products, Inc. To

Answer Or Otherwise Plead.


Dated: August 21, 2008                           Respectfully submitted,


                                                 /s/ Mary Rose Alexander_______________
                                                 Mary Rose Alexander
                                                 Kathleen P. Lally
                                                 LATHAM & WATKINS LLP
                                                 233 South Wacker Drive
                                                 Suite 5800 Sears Tower
                                                 Chicago, Illinois 60606
                                                 Telephone: 312-876-7700
                                                 Facsimile: 312-993-9767
                                                 Attorneys for Defendant Playtex Products, Inc.
